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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

NATIONAL COUNCIL OF
NONPROFITS,
1001 G Street NW, Suite 700 East
Washington, D.C. 20001,

AMERICAN PUBLIC HEALTH
ASSOCIATION,
800 I Street NW
Washington, D.C. 20001,

MAIN STREET ALLIANCE,
909 Rose Avenue
North Bethesda, Md. 20852,

and

SAGE,
305 7th Avenue, 15th Floor
New York, N.Y. 10001,

Plaintiffs,

v.                                            Case No. 25-cv-239

OFFICE OF MANAGEMENT AND
BUDGET,
725 17th Street, N.W.
Washington, D.C. 20503,

and

MATTHEW VAETH, in his official
capacity as Acting Director, Office of
Management and Budget
725 17th Street, N.W.
Washington, D.C. 20503,

Defendants.

  [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER
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       Upon consideration of Plaintiffs’ motion for a temporary restraining order and

accompanying brief, it is hereby

       ORDERED that the motion is GRANTED; it is further

       ORDERED that the Office of Management and Budget and its Acting Director

Matthew Vaethe are ENJOINED from implementing or enforcing OMB’s January 27,

2025 Memorandum entitled “Temporary Pause of Agency Grant, Loan, and Other

Financial Assistance Programs” until further order of this Court.

       Defendants are further ORDERED to file a status report within 24 hours of the

issuance of this order, and every two weeks thereafter for 12 weeks, confirming the regular

disbursement and obligation of federal financial assistance funds.

       SO ORDERED.



Dated: January ____, 2025                    _____________________________
                                             THE HON. ___________________
                                             UNITED STATES DISTRICT JUDGE




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                     NAMES OF PERSONS TO BE SERVED
                    WITH PROPOSED ORDER UPON ENTRY

        Pursuant to Local Civil Rule 7(k), below are the names and addresses of persons
entitled to be notified of entry of the above Proposed Order:

OFFICE OF MANAGEMENT & BUDGET
725 17th Street, N.W.
Washington, D.C. 20503,

MATTHEW VAETHE, in his official capacity as Acting Director
Office of Management and Budget
725 17th Street, N.W.
Washington, D.C. 20503

U.S. Attorney for the District of Columbia
c/o Civil Process Clerk
United States Attorney’s Office
555 Fourth Street, N.W.
Washington, D.C. 20530

Attorney General of the United States
c/o Assistant Attorney General for Administration
U.S. Department of Justice
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Daniel Schwei
Special Counsel
United States Department of Justice
Civil Division, Federal Programs Branch
1100 L Street NW, Room 11532
Washington, DC 20005
daniel.s.schwei@usdoj.gov
202-598-3865

Jessica Anne Morton (DC Bar No. 1032316)
Kevin E. Friedl* (Admitted only in New York; practice supervised by D.C. Bar
members)
Kaitlyn Golden (DC Bar No. 1034214)
Robin F. Thurston (DC Bar No. 1531399)
Skye L. Perryman* (D.C. Bar No. 984573)
Will Bardwell* (D.C. Bar No. 90006120)
Democracy Forward Foundation
P.O. Box 34553
Washington, D.C. 20043



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*motion to appear pro hac vice forthcoming




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